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                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                   )
                                         )
11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                           )      Chapter 11
                                         )
Debtor.                                  )


MOVANT'S CERTIFICATE OF NON-CONTESTED MATTER WITH RESPECT TO THE
AMENDED APPLICATION TO EMPLOY CBRE, INC. AS BROKERAGE FIRM FOR THE
ESTATE AND REQUEST FOR ENTRY OF ORDER


       On April 13, 2018, the Debtor-in-Possession, 11380 Smith Rd LLC (“Movant”), filed
a motion or application pursuant to L.B.R. 9013-1 entitled: Amended Application to Employ
CBRE, Inc. as Brokerage Firm for the Estate. Movant hereby certifies that the following is
true and correct:

       1.     Service of the motion/application, notice and proposed order were timely
made on all parties against whom relief is sought and those otherwise entitled to service
pursuant to the FED.R.BANKR.P. and the L.B.R. as is shown on the certificate of service,
L.B. Form 9013-1.2, previously filed with the motion/application on April 13, 2018.

       2.     Mailing or other service of the notice was timely made on all other creditors
and parties in interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted
by an order of the court, a copy of which is attached), as is shown on the certificate of
service, L.B. Form 9013-1.2, previously filed with the notice on April 27, 2018.

         3.   The docket numbers for each of the following relevant documents are:
              a.    the motion and all documents attached thereto and served therewith,
                    (Docket No. 74);
              b.    the certificate of service of the motion and all documents attached
                    thereto and served therewith, notice and proposed order, (Docket No.
                    74);
              c.    the notice, (Docket No. 86);
              d.    the certificate of service of the notice, (Docket No. 86);
              e.    the proposed order, (Docket No. 74); and

       4.    No objections to or requests for hearing on the motion/application were
received by the undersigned, or filed with the court and docketed in the case file by the
date designated in the notice.
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        WHEREFORE, Movant prays that the court forthwith enter an order, a form of which
is attached to Docket No. 74), granting the requested relief.

DATED: May 14, 2018

                                        Respectfully Submitted,

                                        WEINMAN & ASSOCIATES, P.C.



                                        By: /s/ Jeffrey A. Weinman
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